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                              UNITED STATES DISTRICT COURT
14                           CENTRAL DISTRICT OF CALIFORNIA
15                                 WESTERN DIVISION
16   RITA MARETTA PRYER,                            ) No. 2:20-CV-06263-PD
                                                    )
17           Plaintiff,                             )
                                                    )
18                  v.                              ) JUDGMENT OF REMAND
                                                    )
19                                                  )
     KILOLO KIJAKAZI,1                              )
20                                                  )
     Commissioner of Social Security,               )
21                                                  )
             Defendant.                             )
22
23           The Court having approved the parties’ Stipulation to Voluntary Remand
24   Pursuant to Sentence 4 of 42 U.S.C. § 405(g) and to Entry of Judgment (“Stipulation
25   of Remand”) lodged concurrent with the lodging of the within Judgment of Remand.
26
27
     1
        Kilolo Kijakazi became the Acting Commissioner of Social Security on July 9, 2021.
28   Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Kilolo Kijakazi should be
     substituted, therefore, for Andrew Saul as the defendant in this suit. No further action need be
     taken to continue this suit by reason of the last sentence of section 205(g) of the Social
     Security Act, 42 U.S.C. § 405(g).
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1          IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the above-
2    captioned action is remanded to the Commissioner of Social Security for further
3    proceedings consistent with the Stipulation of Remand.
4
5    DATED: October 21, 2021
6                                   THE HONORABLE PATRICIA DONAHUE
                                    UNITED STATES MAGISTRATE JUDGE
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